                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


FAYETTEVILLE PUBLIC LIBRARY, a political
subdivision in the City of Fayetteville, State of Arkansas;
EUREKA SPRINGS CARNEGIE PUBLIC LIBRARY;
CENTRAL ARKANSAS LIBRARY SYSTEM; NATE
COULTER; OLIVIA FARRELL; HAYDEN KIRBY;
MIEL PARTAIN, in her own capacity and as parent and
next friend of MADELINE PARTAIN; LETA
CAPLINGER; ADAM WEBB; ARKANSAS LIBRARY
ASSOCIATION;           ADVOCATES             FOR      ALL
ARKANSAS LIBRARIES; PEARL’S BOOKS, LLC;
WORDSWORTH COMMUNITY BOOKSTORE LLC
d/b/a WORDSWORTH BOOKS; AMERICAN
BOOKSELLERS ASSOCIATION; ASSOCIATION OF
AMERICAN PUBLISHERS, INC.; AUTHORS GUILD,
INC.; COMIC BOOK LEGAL DEFENSE FUND; and
FREEDOM TO READ FOUNDATION                                    PLAINTIFFS


v.                                 NO. 5:23-CV-05086-TLB

CRAWFORD COUNTY, ARKANSAS; CHRIS KEITH,
in his official capacity as Crawford County Judge; TODD
MURRAY;           SONIA       FONTICIELLA;       DEVON
HOLDER; MATT DURRETT; JEFF PHILLIPS; WILL
JONES; TERESA HOWELL; BEN HALE, CONNIE
MITCHELL, DAN TURNER, JANA BRADFORD;
FRANK SPAIN; TIM BLAIR; KYLE HUNTER;
DANIEL SHUE; JEFF ROGERS; DAVID ETHREDGE;
TOM TATUM, II; DREW SMITH; REBECCA REED
MCCOY; MICHELLE C. LAWRENCE; DEBRA
BUSCHMAN;             TONY       ROGERS;        JOSHUA
ROBINSON; CAROL CREWS; KEVIN HOLMES;
CHRIS WALTON; and CHUCK GRAHAM, each in his
or her official capacity as a prosecuting attorney for the
State of Arkansas                                               DEFENDANTS
             EUREKA SPRINGS CARNEGIE PUBLIC LIBRARY’S RESPONSES
                   TO THE PROSECUTING ATTORNEYS’ FIRST SET
              OF INTERROGATORIES AND REQUESTS FOR PRODUCTION

       Plaintiff Eureka Springs Carnegie Public Library (“ESCPL”), by and through its attorneys,

for its responses to Prosecuting Attorneys’ First Set of Interrogatories and Requests for Production

of Documents, states as follows:

                PRELIMINARY STATEMENTS, RESERVATIONS OF RIGHTS,
                           AND GENERAL OBJECTIONS

       1.      ESCPL has not completed its investigation of the facts relating to this case or

completed formal discovery. Accordingly, there may exist information and responsive documents

of which ESCPL does not yet have knowledge or has not yet located, identified, or reviewed. All

of the following responses are therefore based only on such information and documents currently

known or available to ESCPL after reasonable inquiry. Upon further investigation, ESCPL reserves

the right to alter, amend, or supplement certain facts or information set forth in the following

responses.

       2.      ESCPL objects generally to each and every discovery request to the extent that the

request purports, through definitions otherwise, to impose burdens and duties on ESCPL that

exceed the scope of reasonable and permissible discovery under the Federal Rules of Civil

Procedure.

       3.      ESCPL objects generally to each and every discovery request to the extent that the

request purports to require disclosure of information subject to the attorney-client or other

applicable privileges (“privileged information”). Such privileged information is exempt from

discovery.

       4.      ESCPL objects to each and every discovery request to the extent that the request



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                                         INTERROGATORIES

       INTERROGATORY NO. 1: Identify 20 items in your collection that you believe are

subject to regulation under Section 1 of Act 372 of 2023.

       RESPONSE: ESCPL objects to Interrogatory No. 1 to the extent it seeks disclosure of

information protected by the attorney-client privilege, attorney work product doctrine, common

interest privilege, and other applicable privileges. Furthermore, ESCPL objects to Interrogatory

No. 1 as confusing, vague, and unduly burdensome because it requires ESCPL to draw legal

conclusions about the extent to which materials in its collection is subject to regulation under

Section 1 of Act 372, a law that ESCPL alleges is unconstitutionally vague.

       ESCPL also objects that its ability to identify books in its collection that are subject to Act

372 would be greatly enhanced if it had the benefit of the Prosecutor Defendants’ response to

Plaintiffs’ first set of discovery requests, which should clarify, among other things, the Prosecutor

Defendants’ views on the applicability of Act 372 to a list of frequently challenged books.

Understanding how the Prosecutor Defendants, who are tasked with interpreting and enforcing Act

372, understand that law will help ESCPL more accurately determine which books in its collection

are likely to trigger a prosecution under Section 1 of Act 372, if they are made generally available

to library patrons, regardless of age.

       INTERROGATORY NO. 2: For each item identified in response to Interrogatory No. 1,

identify the chapter numbers, timestamps, or other specific indicator that you believe make the item

subject to Section 1.

       RESPONSE: ESCPL objects to Interrogatory No. 2 to the extent it seeks disclosure of

information protected by the attorney-client privilege, attorney work product doctrine, common




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interest privilege, and other applicable privileges. ESCPL further objects to Interrogatory No. 2 as

confusingly worded, vague, and unduly burdensome because it requires ESCPL to draw legal

conclusions about the extent to which items in its collection are subject to regulation under Section

1 of Act 372, a law that ESCPL alleges is unconstitutionally vague.

       Moreover, determining if an item is “harmful to minors” – and, thus, is subject to Act 372’s

restrictions on its availability – requires that the item be “taken as a whole,” Miller v. California,

413 U.S. 15, 24 (1973), and considered in the context of the age and maturity of the specific minor

to whom the material is made available, see Ginsberg v. New York, 390 U.S. 629, 631-32 (1968).

Prelim. Inj. Op. (Doc. 53) at 27 (“Act 372’s definition of ‘harmful to minors’ precisely tracks the

Supreme Court-approved definitions from Ginsberg and Miller”).

       INTERROGATORY NO. 3: Are you and your employees required to follow the

American Library Association’s Code of Ethics?

       RESPONSE: ESCPL objects to Interrogatory No. 3 because it is vaguely worded and fails

to specify what it means to be “required to follow the American Library Association’s Code of

Ethics,” which is a non-binding framework that does not purport to dictate specific courses of

action or outcomes. ESCPL also objects to the extent that Interrogatory No. 3 seeks information

about the ethical obligations of its employees or librarians in the State of Arkansas, which is

publicly available and could be easily obtained by the Prosecutor Defendants. Without waiving

these objections, ESCPL states that its employees are not required to follow the American Library

Association’s Code of Ethics in any formal or binding sense. Indeed, the ALA Code of Ethics is

not, by its terms, a binding ethical obligation, but rather purports to “guide ethical decision making”

through “broad statements” of principle. See https://www.ala.org/tools/ethics.




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       INTERROGATORY NO. 4: If you and your employees are required to follow the

American Library Association’s Code of Ethics, who requires compliance with that Code of Ethics?

       RESPONSE: See the response to the previous Interrogatory.

       INTERROGATORY NO. 5: Identify who creates your policies related to the selection,

relocation, and retention of materials in your collection.

       RESPONSE: The Carroll and Madison County Library System Board of Directors creates

ESCPL policies related to selection, retention, and relocation of materials.

       INTERROGATORY NO. 6: Identify every person who has expressed their intent to you

to challenge library materials under Section 5 of Act 372 of 2023.

       RESPONSE: ESCPL objects to Interrogatory No. 6 to the extent it calls for ESCPL to

disclose “[l]ibrary records which contain names or other personally identifying details regarding

the patrons of public, school, academic, and special libraries and library systems supported in whole

or in part by public funds,” which Arkansas law provides “shall be confidential and shall not be

disclosed except as permitted by this subchapter.” Ark. Code Ann. § 13-2-703. ESCPL further

objects to this request as unduly burdensome and not proportional to the Prosecutor Defendants’

needs. ESCPL also objects that the request is vague because it does not specify the form that a

qualifying expression must take.

       Without waiving any objections, because ESCPL has not received any information

regarding any individuals who have expressed their future intention of challenging a library

material under the specific procedures set forth in Section 5 of Act 372, it has no responsive

individuals to identify.




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                                       VERIFICATION

       I, Christina Danos, am the Director of ESCPL. I am authorized to make this verification

for and on behalf of ESCPL with regard to ESCPL’s responses herein. I have reviewed these

responses and am informed and believe that the matters stated therein are true.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on March 18, 2024 at Eureka Springs, Arkansas.



                                                            /s/ Christina Danos
                                                            Christina Danos




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                               CERTIFICATE OF SERVICE

       I, John T. Adams, hereby certify that a true and correct copy of the foregoing has been
served via email on all counsel of record on March 18, 2024.

                                                  /s/ John T. Adams            ____________
                                                  John T. Adams




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